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                             UNITED STATES DISTRICT COURT

                   FOR THE NORTHERN DISTRICT OF ILLINOIS

                                    EASTERN DIVISION



Craftwood II, Inc., et al.,                        Case No. 1:17-cv-04105

               Plaintiffs,                         Hon. Robert W. Gettleman

         v.

Generac Power Systems, Inc., et al.,

               Defendants.




                               Notice of Appeal by All Plaintiffs


         Notice is hereby given that Plaintiffs Craftwood II, Inc., dba Bay Hardware, and

Craftwood III, Inc., dba Lunada Bay Hardware, on behalf of themselves and all others

similarly situated, hereby appeal to the United States Court of Appeals for the Seventh

Circuit from: (a) the Amended Judgment in a Civil Case, entered on September 13, 2021

(ECF 294); and to the extent necessary (b) the Original Judgement in a Civil Case,

entered on September 13, 2021 (ECF 291); and (c) the September Memorandum Opinion

and Order granting Defendants’ motion for summary judgment, entered September 13,

2021 (ECF 290).



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DATED: October 11, 2021            PAYNE & FEARS LLP

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                                   Attorneys for Plaintiffs Craftwood II, Inc.,
                                   dba Bay Hardware, and Craftwood III, Inc.,
                                   dba Lunada Bay Hardware, on behalf of themselves
                                   and all others similarly situated




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                             CERTIFICATE OF SERVICE

      I hereby certify that on October 11, 2021, a true and correct copy of the foregoing

document was electronically filed with the Court using the CM/ECF system. All counsel

of record who are deemed to have consented to electronic service will be served with a

copy of this document via the Court’s CM/ECF system.



                                            /s/ Scott O. Luskin
                                            Scott O. Luskin




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